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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

SCOTTSDALE INSURANCE           )
COMPANY,                       )
                               )
      Plaintiff,               )
                               )
vs.                            )                    Civil Action No.
                               )
LINCOLN WOOD;                  )                    1:22-CV-03217-LMM
NICOLE JENNINGS WADE;          )
JONATHAN D. GRUNBERG;          )
and G. TAYLOR WILSON           )
                               )
      Defendants.              )
_______________________________)

     DEFENDANT L. LIN WOOD, JR.’S RESPONSE TO PLAINTIFF
    SCOTTSDALE INSURANCE COMPANY’S MOTION TO AMEND
                        COMPLAINT

      Defendant L. Lin Wood, Jr. hereby files his Response to Plaintiff

SCOTTSDALE INSURANCE COMPANY’s (“SCOTTSDALE”) Motion to

Amend Complaint for Declaratory Judgment, and in support thereof states the

following:

      Plaintiff SCOTTSDALE moved the Court for leave to amend its Complaint

for declaratory Judgment, to (a) reflect Defendant Lincoln Wood’s citizenship in

[Georgia (SCOTTSALE apparently intended to say South Carolina, not Georgia)];

and (b) add allegations showing that the facts in the two underlying lawsuit[s] are

related to each other so as to support Scottsdale’s “notice” defense to coverage.


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      Plaintiff SCOTTSDALE advances that, based on Defendant Wood’s

attestation that he resides in South Carolina where he is also registered to vote and

holds a driver’s license, acknowledging that it thus appears that he is in fact a citizen

of South Carolina notwithstanding his ownership of property in Georgia and his law

practice in Georgia, and asks the Court for leave to amend the Complaint for

Declaratory Judgment to state that Defendant Wood is a citizen of South Carolina.

      In no uncertain terms, Defendant Wood is a resident and citizen of the State

of South Carolina, where he is permanently domiciled, i.e., where he eats and sleeps

on a daily basis, since February 2021, with the few exceptions when he travels out

of his South Carolina home and visits other states, including the State of Georgia.

Defendant Wood does not object that the Complaint reflect that he is a citizen of the

State of South Carolina, where he is domiciled and permanently resides.

      As to Plaintiff SCOTTSDALE’S second alleged reason to seek leave to

amend its Complaint for Declaratory Judgment, Defendant Wood concurs with the

improperly-added straw Defendants, Nicole J. Wade, Jonathan D. Grunberg, and G.

Taylor Wilson, that Plaintiff SCOTTSDALE seems to be the only party who cannot

fathom the difference between language that constitutes a breach of contract and

language that constitutes libel per se under Georgia law. SCOTTSDALE’S Motion

to Amend seeks to add claims that that the Fulton County Lawsuit filed by the WGW

Defendants against Defendant Wood and L. Lin Wood, P.C. is essentially the same




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as the WGW Defendants’ suit in federal court against Defendant Wood. However,

the Fulton County Lawsuit asserts claims for, inter alia, breach of contract and fraud

for failure to honor a settlement agreement, and breach of the non-disparagement

clause for the statements Defendant Wood made about the WGW Defendants in

2020. See, e.g., Doc. 1-3. However, the Federal Lawsuit is an action solely for

defamation only relating to 19 specific statements Defendant Wood allegedly made

on the social media platform Telegram in 2021. The claims against Defendant Wood

for his alleged comments in the Fulton County Lawsuit are based solely on breach

of the non-disparagement agreement, and Plaintiff SCOTTSDALE cannot show that

they were potentially covered by its policy of insurance. Therefore, the claims in the

two lawsuits are fundamentally separate and distinct as they relate to different claims

(breach of contract versus libel), different items of proof, different statutes of

limitation, and different statements made at different times.

      Additionally, the allegations Plaintiff SCOTTSDALE seeks to add are

incorrect. The Federal Lawsuit is a defamation per se action related to the 19 specific

statements allegedly made in 2021 as set forth in the Federal Lawsuit Complaint

(Doc. 1-3), and the Fulton County Lawsuit does not allege claims for defamation,

does not seek damages for Defendant Wood’s statements set forth in the Federal

Lawsuit, and instead seeks claims against L. Lin Wood, P.C. and Defendant Wood

for, inter alia, breach of contract and fraud. Further, the preliminary injunction




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issued in the Fulton County Lawsuit was issued in October 2020, which was

approximately seven (7) months prior to when any of the statements set forth in the

defamation per se claim in the Federal Lawsuit were made by Defendant Wood. See,

e.g., Doc. 1-2, Doc. 1-3. Moreover, the breach of the non-disparagement claim set

forth in the Fulton County Lawsuit does not include any of the statements that are at

issue in the Federal Lawsuit.

      Further, all of the information that Plaintiff SCOTTSDALE relies upon to

seek leave to amend its Complaint for Declaratory Judgment has been in Plaintiff’s

possession since the outset of this case. SCOTTSDALE could have included these

proposed allegations regarding the Fulton County Lawsuit and the Federal Lawsuit,

but it chose not to when it filed the Complaint for Declaratory Judgment.

      For the aforementioned reasons, Plaintiff SCOTTSDALE’S Motion should

only be granted with respect to its amending Defendant Wood’s domicile, residency,

and citizenship to the State of South Carolina, and denied with respect to its request

to add allegations that are not only unsupported, but more importantly, which were

known to Plaintiff SCOTTSDALE when it filed its Complaint for Declaratory

Judgment.

      WHEREFORE, the Court should only grant Plaintiff SCOTTSDALE’S

motion with respect to its amending Defendant Wood’s domicile, residency, and

citizenship to the State of South Carolina, and should deny it with respect to Plaintiff




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SCOTTSDALE’S request to add allegations which were known to it when it filed

its Complaint for Declaratory Judgment.



      Respectfully submitted this 6th day of January, 2023.

/s/ Ibrahim Reyes                               /s/ L. Lin Wood, Jr.
Ibrahim Reyes, Esquire                          L. Lin Wood, Jr.
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(Admitted Pro Hac Vice)                         L. LIN WOOD, P.C.
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Fax: (305) 445-1181                             Email: lwood@linwoodlaw.com
Email: ireyes@reyeslawyers.com


                       CERTIFICATE OF COMPLIANCE

      I HEREBY CERTIFY, pursuant to Local Rule 7.1(D), that the foregoing has

been prepared in accordance with Local Rule 5.1(C) (Times New Roman font, 14

point).

                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 6th day of January, 2023, I electronically

filed the foregoing with the Clerk of Court using the CM/ECF system, which will

send a notice of such filing to all attorneys of record in this case.


             /s/ Ibrahim Reyes                            /s/ L. Lin Wood, Jr.
          Ibrahim Reyes, Esquire                            L. Lin Wood, Jr.




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